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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

Vv. CRIMINAL CASE NO. 4:17-CR-131-DMB-JMV

WENDELL BRANDON, a.k.a. Omari Ibrahim El Bey

PLEA AGREEMENT
The United States Attorney hereby proposes to the Court a plea agreement to be filed in
this cause under Rule 11(c) of the Federal Rules of Criminal Procedure. Defendant has read and
fully understands this plea agreement and approves same, realizing that the plea agreement is

subject to acceptance or rejection by the Court. The plea agreement is as follows:

f. GUILTY PLEA: The defendant agrees to plead guilty under oath to Count One of
the Indictment, which charges that the defendant, WENDELL BRANDON did knowingly and
willfully conspire and agree with persons known and unknown to the Grand Jury, to execute a
scheme and artifice, affecting interstate commerce, to defraud a health care benefit program, that
is, Medicare and Medicaid, and to obtain money and property owned by and under the custody
and control of Medicare and Medicaid, by means of false and fraudulent pretenses, representations,
and promises, in connection with the delivery of and payment for health care benefits, items and
services, in violation of Title 18, United States Code, Section 1347 and 1349 which carries
maximum possible penalties of not more than 10 years imprisonment, not more than 3 years
supervised release, not more than $250,000 fine and a special assessment of $100 and restitution

as appropriate.
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2: OTHER CHARGES: The United States agrees not to charge the defendant with
any other offenses arising from or related to the above charge and agrees to dismiss all other

charges in the indictment upon the conclusion of sentencing on Count One.

3. RESTITUTION: The defendant understands that the Court may order restitution
in accordance with the provisions of 18 U.S.C. Section 3663 for all offenses committed and

specifically agrees that restitution is not limited to the count of conviction.

4. OTHER AUTHORITIES: This agreement does not bind any prosecuting
authority of any state or any other federal district, nor does it bind the Attorney General of the
United States with regard to any matter, criminal or civil, involving federal tax laws. Nor does
this agreement bind the United States or any of its departments or agencies with regard to any civil

or administrative actions or remedies.

3: VIOLATIONS OF THIS AGREEMENT: If defendant violates this agreement, all
statements made pursuant hereto will be admissible against defendant, who hereby waives the
provisions of Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the Federal
Rules of Evidence. Defendant may also, in that event, be prosecuted for all federal offenses,

including perjury and false statements relating to this plea agreement.

6. ACKNOWLEDGMENTS: Apart from being advised of the applicability of the
U.S. Sentencing Guidelines, and other than as set forth elsewhere in the plea documents, no
promise or representation whatsoever has been made to defendant as to what punishment the Court
might impose if it accepts the plea of guilty. This agreement fully reflects all promises,

agreements, and understandings between the defendant and the United States Attorney. The
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defendant’s agreement is knowing, free, and voluntary, and not the product of force, threat, or

coercion. The defendant is pleading guilty because defendant is in fact guilty.

This the ad day of Pa |

WILLIAM C. LAMAR
United States Attorney

Mississippi Bar No. 8479

 

 

 

an) AND CONSENTED TO: APPROVED:
WENDELL BRANDON EDWARD J. BOGEN, JR.
Defendant Attorney for Defendant

Mississippi Bar No. 3611
